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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MARY M. TARDIF,

                                                                  Plaintiff,     DECLARATION OF JOSHUA
                                                                                 J. LAX, ESQ., IN SUPPORT
                                  -against-                                      OF DEFENDANT’S MOTIONS
                                                                                 IN LIMINE
CITY OF NEW YORK, SERGEANT THOMAS MCMANUS,
IN HIS INDIVIDUAL AND OFFICIAL CAPACITY, 13 CV 4056 (KMW)(KNF)
Defendants-Appellees,  NEW  YORK   CITY     POLICE
DEPARTMENT,         DEPUTY  COMMISSIONER      JOHN
O'CONNELL, DEPUTY INSPECTOR DANIEL MULLIGAN,
DEPUTY INSPECTOR EDWARD WINSKI, POLICE
OFFICER JAMES MCNAMARA, POLICE OFFICER ALENA
AMINOVA, POLICE OFFICER KENDAL CREER, POLICE
OFFICER MARSHA RUMBLE, POLICE OFFICER FELIX
SCHMIDT, JOHN DOE, NYPD OFFICERS #1-13, JOHN DOE,
NYPD OFFICERS #1-11, JOHN DOE, NYPD OFFICERS #1-9,
JOHN DOE, NYPD OFFICER #11,
                                        Defendants.

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JOSHUA J. LAX, an attorney duly admitted to practice in the State of New York and in this

Court, declares, pursuant to 28 U.S.C. §1746, under penalty of perjury, that the following is true

and correct:

             1. I am a Senior Counsel in the Office of the Honorable Sylvia O. Hinds-Radix,

Corporation Counsel of the City of New York, attorney for defendant City of New York. I

served as trial counsel for the first trial in this matter, and have represented defendant during

discovery on plaintiff’s new damages theory. As such, I am familiar with the facts stated below.

I submit this declaration to place on the record the relevant documents in support of defendant’s

motions in limine.
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           2. Annexed hereto as Exhibit “A” are the reports of Ranga C. Krishna, M.D.,

Gregory Lawler, M.D., Linda Lajterman, and Mark P. Zaporowski.

           3. Annexed hereto as Exhibit “B” are excerpts from the Deposition of Plaintiff,

taken January 18, 2022.

           4. Annexed hereto as Exhibit “C” is a note from plaintitff’s medical records from the

University of California Medical Center, dated November 23, 2020. Defendant will make a

motion to file this exhibit under seal, but provide a copy to chambers with their courtesy copy.

           5. Annexed hereto as Exhibit “D” is an excerpt from the transcript of the first trial

for November 15, 2018, which consists of the testimony of Stephanie Shockley.

           6. Annexed hereto as Exhibit “E” is an excerpt from the transcript of the first trial

for November 19, 2018, which contains the Court’s ruling on plaintiff’s motion to preclude

evidence from her arrest history.

Dated: New York, New York                      HON. SYLVIA O. HINDS-RADIX
       February 28, 2022                       CORPORATION COUNSEL OF THE CITY OF NEW YORK
                                               Attorney for Defendant
                                               100 Church Street
                                               New York, New York 10007
                                               (212) 356-3538

                                               By:   __________/s/_____________
                                                     Joshua J. Lax
                                                     Senior Counsel
                                                     Special Federal Litigation Division

cc:      All counsel of record (by ECF only)
